














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 48,502-02






EX PARTE EDWARD GREEN, III, aka PEANUT








ON APPLICATION FOR WRIT OF HABEAS CORPUS 


FROM HARRIS COUNTY






Per Curiam.  Price, J., would stay the execution.



O R D E R



	This is a subsequent application for writ of habeas corpus filed pursuant to the
provisions of Texas Code of Criminal Procedure Article 11.071, § 5.

	In August 1993, a Harris County jury convicted applicant of the offense of capital
murder.  The jury answered the special issues submitted pursuant to Texas Code of Criminal
Procedure Article 37.071, and the trial court, accordingly, set punishment at death.  This Court
affirmed applicant's conviction and sentence on direct appeal.  Green v. State, 912 S.W.2d
189 (Tex. Crim. App. 1995).  On April 23, 1997, applicant filed his initial post-conviction
application for writ of habeas corpus in the convicting court.  This Court subsequently denied
applicant relief.  Ex parte Green, No. 48,502-01 (Tex. Crim. App. Mar. 28, 2001)(not
designated for publication).  Applicant's subsequent writ was received in this Court on October
1, 2004.

	Applicant presents a single allegation.  We have reviewed the application and find the
allegation fails to satisfy the requirements of Article 11.071, § 5(a).  Accordingly, it is
dismissed as an abuse of the writ.  Tex. Code Crim. Proc. Art. 11.071, § 5(c).

	IT IS SO ORDERED THIS THE 4TH DAY OF OCTOBER, 2004.


Do Not Publish



